     Case 2:21-cv-00092-SB-SK Document 15 Filed 02/23/21 Page 1 of 2 Page ID #:81



     SO. CAL. EQUAL ACCESS GROUP
 1   Jason J. Kim (SBN 190246)
     Jason Yoon (SBN 306137)
 2   101 S. Western Ave., Second Floor
     Los Angeles, CA 90004
 3   Telephone: (213) 252-8008
     Facsimile: (213) 252-8009
 4
     scalequalaccess@yahoo.com
 5
 6   Attorneys for Plaintiff
     FIDEL HERNANDEZ
 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11   FIDEL HERNANDEZ,                                Case No.: 2:21-cv-00092-SB (SKx)
12               Plaintiff,
13         vs.                                       NOTICE OF VOLUNTARY
                                                     DISMISSAL OF DEFENDANT
14                                                   PHYLLIS TELIS, AS TRUSTEE OF
     OLYMPIC DONUTS, INC.; PHYLLIS                   THE SAM TELIS AND PHYLLIS
15   TELIS, AS TRUSTEE OF THE SAM                    TELIS INTER VIVOS TRUST
     TELIS AND PHYLLIS TELIS INTER                   AGREEMENT
16
     VIVOS TRUST AGREEMENT;
17   BERNARD M. SMUKLER, AS
18   TRUSTEE OF THE SMUKLER LIVING
     TRUST; DOES 1 to 10,
19
                 Defendants.
20
21
22
           PLEASE TAKE NOTICE that Plaintiff FIDEL HERNANDEZ (“Plaintiff”)
23
     pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses
24
     Defendant PHYLLIS TELIS, AS TRUSTEE OF THE SAM TELIS AND PHYLLIS
25
     TELIS INTER VIVOS TRUST AGREEMENT (“Defendant”) without prejudice pursuant
26
     to Federal Rule of Civil Procedure Rule 41(a)(1) which provides in relevant part:
27
28


                                                 1
                      NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
     Case 2:21-cv-00092-SB-SK Document 15 Filed 02/23/21 Page 2 of 2 Page ID #:82




 1         (a) Voluntary Dismissal.
 2               (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
 3                      and any applicable federal statute, the plaintiff may dismiss an action
 4                      without a court order by filing:
 5                      (i)   A notice of dismissal before the opposing party serves either an
 6
                              answer or a motion for summary judgment.
 7
     Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for summary
 8
     judgment. Accordingly, Defendant may be dismissed without an Order of the Court.
 9
10
11
12   DATED: February 23, 2021        SO. CAL. EQUAL ACCESS GROUP
13
14
                                     By:      /s/ Jason J. Kim
15
                                           Jason J. Kim
16                                         Attorneys for Plaintiff
17
18
19
20
21
22
23
24
25
26
27
28


                                                  2
                       NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
